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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SAQUETA WILLIAMS,                      :    CIVIL ACTION
                                       :    NO. 20-03387
         Plaintiff,                    :
                                       :
    v.                                 :
                                       :
ROC NATION, LLC, et al.,               :
                                       :
         Defendants.                   :


                              O R D E R


    AND NOW, this 21st day of October, 2020, after considering

Defendants’ Motions to Dismiss (ECF Nos. 17, 19) and Plaintiff’s

Responses thereto (ECF Nos. 25, 26) and holding a hearing on the

record with counsel for the parties, it is hereby ORDERED that

Defendants’ Motions to Dismiss (ECF Nos. 17, 19) are granted as

to Counts III and IV and denied as to Counts I and II for the

reasons set forth in the accompanying memorandum. Accordingly,

Counts III and IV of the Complaint (ECF No. 1) are DISMISSED

without prejudice and Plaintiff is granted leave to AMEND Counts

III and IV by November 4, 2020.



         AND IT IS SO ORDERED.



                                 /s/ Eduardo C. Robreno
                                 EDUARDO C. ROBRENO, J.
